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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

MICHELLE DUVAL,

       Petitioner,

v.                                                       Case No: 8:15-cv-2645-T-30AAS
                                                        Crim. Case No: 8:10-cr-136-T-30EAJ

UNITED STATES OF AMERICA,

       Respondent.


                                         ORDER

       THIS CAUSE comes before the Court on Petitioner's "Motion to Reinstate Habeas

Pursuant to 28 USC 2255" (Doc. 19). For the reasons below, the Court grants the motion

to reinstate the § 2255 Motion, and concludes that the § 2255 Motion should be denied.

                                     BACKGROUND

       In 2010, Petitioner was indicted for being a felon in possession of a firearm (counts

I and II), and possessing with intent to distribute crack cocaine (counts III and IV). (CR

Doc. 1). Petitioner pleaded guilty to count I, and the Court accepted the plea agreement.

(CR Docs. 29, 31, and 35). On April 21, 2011, the Court sentenced Petitioner to 188

months’ imprisonment on count I, and dismissed counts II, III, and IV. (Doc. 74).

       Prior to sentencing, the Probation Office prepared a presentence investigation report

(“PSR”) that recommended Petitioner be sentenced as an armed career criminal based on

her prior convictions. (PSR at ¶ 35). Specifically, Petitioner had prior convictions for sale

of rock cocaine, sale of cocaine, and robbery under Florida law. (PSR at ¶ 35; CV Doc. 1).
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Based on this recommendation, the Court sentenced Petitioner as an armed career criminal,

which carries a fifteen-year mandatory-minimum sentence. (CR Doc. 83, pp. 6–7).

       Petitioner timely appealed her conviction and sentence, arguing that the Court erred

in designating her an armed career criminal. United States v. Duval, 459 F. App'x 887 (11th

Cir. 2012). The Eleventh Circuit Court of Appeals affirmed the sentence. Id.

       On November 10, 2015, Petitioner filed a timely § 2255 Motion challenging her

armed career criminal designation under Johnson v. United States, 135 S. Ct. 2551 (2015).

In her Motion, she argues that her prior Florida robbery conviction, on which the Court

relied to designate her an armed career criminal, can no longer be used as a predicate

offense. (CV Doc. 1). That is because Florida robbery convictions, Petitioner argues,

qualified under the Armed Career Criminal Act’s (the “ACCA”) residual clause, which

was invalidated in Johnson. (CV Doc. 1).

       After receiving briefs from both sides, this Court stayed the proceedings pending

the outcome of United States v. Seabrooks, 839 F.3d 1326 (11th Cir. 2016), in which the

Eleventh Circuit would consider whether Florida robbery qualified as an ACCA predicate

offense after Johnson. (Doc. 17). After Seabrooks was decided, Petitioner asked the Court

to continue the stay pending the result of United States v. Fritts, 841 F.3d 937, 939 (11th

Cir. 2016), which Petitioner argued was more similar to the facts of her case. (CV Doc.

18). After the Fritts decision was issued, though, neither Petitioner nor the Government

moved the Court to reopen the case to rule on Petitioner § 2255 Motion. That is until

Petitioner filed the instant motion to reinstate her § 2255 Motion. (CV Doc. 19).




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                                      DISCUSSION

       Whether Petitioner is entitled to relief depends on whether her Florida robbery

conviction qualifies as a predicate offense under the ACCA. While that answer was not

entirely clear before Seabrooks and Fritts, there is no question that a Florida robbery

conviction qualifies as an ACCA predicate offense under its elements clause. See United

States v. Seabrooks, 839 F.3d 1326, 1338 (11th Cir. 2016) (“Florida armed robbery

convictions under Fla. Stat. § 812.13 qualify as violent felonies under the ACCA's elements

clause in § 924(e)(2)(B)(I).”); United States v. Fritts, 841 F.3d 937, 940 (11th Cir. 2016)

(“Our Dowd precedent and our conclusion here are also supported by our decisions holding

that a Florida robbery conviction under § 812.13(1), even without a firearm, qualifies as a

‘crime of violence’ under the elements clause in the career offender guideline in U.S.S.G.

§ 4B1.2(a), which has the same elements clause as the ACCA.”). So the Court concludes

Petitioner’s § 2255 Motion must be denied because her Florida robbery conviction

continued to qualify as an ACCA predicate offense after Johnson, 135 S. Ct. 2551.

      Accordingly, it is ORDERED AND ADJUDGED that:

      1.     Petitioner's "Motion to Reinstate Habeas Pursuant to 28 USC 2255" (Doc.

             19) is GRANTED.

      2.     The Clerk is directed to reopen this case.

      3.     Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

             U.S.C. § 2255 (CV Doc. 1) is DENIED.

      4.     All pending motions are denied as moot.

      5.     The Clerk is directed to close this file.


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       6.     The Clerk is further directed to terminate from pending status the motion to

              vacate found at Doc. 93 in case 8:10-cr-136-T-30EAJ.



        CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL
                        IN FORMA PAUPERIS

       IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

appeal a district court’s denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district

court must first issue a certificate of appealability (“COA”). Id. “A [COA] may issue . . .

only if the applicant has made a substantial showing of the denial of a constitutional right.”

Id. at § 2253(c)(2). To make such a showing, Petitioner “‘must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims debatable or

wrong,’” Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529

U.S. 473, 484 (2000)), or that “the issues presented were adequate to deserve

encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003)

(internal quotation marks omitted). Petitioner has not made the requisite showing in these

circumstances. Finally, because Petitioner is not entitled to a certificate of appealability,

she is not entitled to appeal in forma pauperis.

       DONE and ORDERED in Tampa, Florida, this 13th day of July, 2018.




Copies furnished to:
Counsel/Parties of Record
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